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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         DONALD J. TRUMP, et al.,
                                   7                                                       Case No. 3:21-cv-08378-JD
                                                         Plaintiffs,
                                   8
                                                  v.                                       JUDGMENT
                                   9
                                         TWITTER INC., et al.,
                                  10
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           The Court dismissed the complaint under Federal Rule of Civil Procedure 12(b)(6) with

                                  14   leave to amend. Dkt. No. 165. Plaintiffs have advised the Court that they have elected not to file

                                  15   an amended complaint. Consequently, pursuant to Federal Rule of Civil Procedure 58, judgment

                                  16   is entered against plaintiffs.

                                  17           IT IS SO ORDERED.

                                  18   Dated: June 7, 2022

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                                                                                                   JAMES DONATO
                                  21                                                               United States District Judge
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